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        9 Attorneys for Plaintiff for Randy Sugarman, Liquidating Trustee
       10                           IN THE UNITED STATES BANKRUPTCY COURT
       11                                EASTERN DISTRICT OF CALIFORNIA
       12                                           FRESNO DIVISION
       13
              In re                                             CASE NO. 18-11651
       14
                   GREGORY JOHN TE VELDE,                       Chapter 11
       15
                               Debtor.                          DCN: MB-3
       16
       17     RANDY SUGARMAN, LIQUIDATING                       Adv. Proc. No.: 19-01033
              TRUSTEE,
       18                                                       Date:    October 26, 2022
                            Plaintiff,                          Time:    11:00 a.m
       19     v.                                                Place:   2500 Tulare Street
                                                                         Fresno, CA 93721
       20
              IRZ CONSULTING, LLC; aka IRZ                               5th Floor, Courtroom 13
       21     CONSTRUCTION DIVISION, LLC                        Judge:   Honorable Rene Lastreto II

       22                   Defendant.
       23
              AND RELATED THIRD PARTY
       24     COMPLAINT

       25
                         PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
       26
                      Pursuant to the provisions of Bankruptcy Rule 7056 and F.R.Civ.P. 56(g), Plaintiff
       27
            Randy Sugarman, Liquidating Trustee of the above entitled estate, hereby moves the Court for an
       28

            PLAINTIFF’S MOTION FOR PARTIAL
            SUMMARY JUDGMENT
                                                             -1-
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            Order Granting Partial Summary Judgment on the First Claim for Relief of his Complaint against
        1
        2 Defendant IRZ Consulting, LLC aka IRZ Construction Division, LLC [“Objection to Proof of
        3 Claim”] disallowing Defendant’s Proof of Claim No. 19 in full, and ordering that Defendant has
        4 no right, title, claim, lien or interest in that certain “holdback fund” remaining from the sale
        5
            proceeds of the Lost Valley Farm.
        6
                   This Motion is made on the ground that Defendant’s claim and purported lien are barred
        7
            under Oregon law because it was continuously licensed as a contractor by the State of Oregon for
        8
        9 the entire period it sought compensation from the Debtor, as required by Oregon Rev. Statutes
       10 701.131(b)(1).
       11          This Motion is based on the accompanying Notice, Memorandum of Points and
       12
            Authorities, Request to Take Judicial Notice, Declarations of John H. MacConaghy and Randy
       13
            Sugarman, Separate Statement of Undisputed Facts, the pleadings and records on file herein, and
       14
            such oral and documentary evidence as may be presented at the hearing on this Motion.
       15
       16
       17 Dated: September 5, 2022                        WANGER JONES HELSLEY PC

       18                                                 And

       19                                                 MacCONAGHY & BARNIER, PLC
       20
       21                                                        /s/ John H. MacConaghy
                                                          By: ________________________
       22                                                     John H. MacConaghy
                                                              Attorneys for Plaintiff
       23                                                     Randy Sugarman,
                                                              Liquidating Trustee
       24
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            PLAINTIFF’S MOTION FOR PARTIAL
            SUMMARY JUDGMENT
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